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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     KAREN STROMBERG, et al.,                            Case No. 17-md-02773-JSC
                                                        Plaintiffs,
                                   8
                                                                                             ORDER RE: PROPOSED DISMISSAL
                                                  v.                                         OF UCL UNFAIRNESS CLAIM
                                   9

                                  10     QUALCOMM INCORPORATED, et al.,
                                                        Defendants.
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                                  12
Northern District of California
 United States District Court




                                  13           In February 2025, the Ninth Circuit “largely affirm[ed]” the judgments against Plaintiffs.

                                  14   Key v. Qualcomm Inc., 129 F.4th 1129, 1135 (9th Cir. 2025). As to Plaintiffs’ UCL unfairness

                                  15   claim, the Ninth Circuit concluded the Court “lacked equitable jurisdiction” and so “vacate[d] the

                                  16   . . . summary judgment order in that respect and remand[ed] with instructions to dismiss that

                                  17   claim without prejudice to refile in state court.” Id. at 1147. The mandate has since issued. (Dkt.

                                  18   No. 1044.)

                                  19           Consistent with the Ninth Circuit’s opinion, the Court intends to dismiss without prejudice

                                  20   Plaintiffs’ UCL unfairness claim. If a party objects, the deadline to file an objection is April 8,

                                  21   2025.

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                                  23           IT IS SO ORDERED.

                                  24   Dated: April 1, 2025

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                                                                                                     JACQUELINE SCOTT CORLEY
                                  27                                                                 United States District Judge
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